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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



JOSE MARIA DeCASTRO,
a/k/a CHILLE DeCASTRO,
a/k/a DELETE LAWZ,                          Case No. 1:22-cv-11421-ADB

            Plaintiff and Defendant-in-     Leave to file reply brief granted on
            Counterclaim                    June 5, 2023 (ECF No. 126)

       v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL and
KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

            Defendants and Plaintiffs-in-
            Counterclaim, and

GOOGLE LLC,

            Defendant.


                 DECLARATION OF BENJAMIN MARGO
 IN SUPPORT OF DEFENDANT GOOGLE LLC’S REPLY IN FURTHER SUPPORT
OF ITS MOTION TO TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
                 OR, IN THE ALTERNATIVE, TO DISMISS
Case 1:22-cv-11421-ADB Document 127-1 Filed 06/14/23 Page 2 of 2
